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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                    )
UNITED STATES OF AMERICA,                           )
                                                    )
                        Plaintiff,                  )
                                                    )
              v.                                    )        Case No. 09-20133
                                                    )
STEPHEN BLACKBURN,                                  )
                                                    )
                        Defendant.                  )
                                                    )



                            MEMORANDUM AND ORDER

       Defendant Stephen Blackburn filed a motion for subpoenas (doc. 713), asking the

court to subpoena on his behalf the Director of the United States Department of Justice

and a Kansas Supreme Court justice to certify and verify that Title 21 of the United

States Code is a law.

       Under Rule 17 of the Federal Rules of Criminal Procedure, if a defendant cannot

pay witness fees and process costs of a subpoena, the court will order the subpoena at

the Government’s expense, provided the defendant can show “the necessity of the

witness’s presence for an adequate defense.” Fed. R. Crim. P. 17(b). A defendant’s

burden under this rule “is not light.” United States v. Pursley, 577 F.3d 1204, 1230 (10th

Cir. 2009). “Mere allegations of materiality and necessity are not sufficient to establish

that a witness is necessary to an adequate defense.” Id. (quoting United States v.

LeAmous, 754 F.2d 795, 798 (8th Cir. 1985)). Instead, to show “necessity,” a defendant
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must establish that the witness’s testimony is “relevant, material, and useful.” United

States v. Hernandez-Urista, 9 F.3d 82, 84 (10th Cir. 1993) (internal quotation marks

omitted).

       Mr. Blackburn wishes to subpoena government officials to certify that Title 21

is a law. This request is denied. A subpoena is not the proper vehicle for the legal

arguments Mr. Blackburn seeks to make. Subpoenas allow parties to gather evidence

in the form of documents or testimony that can be used at trial to help resolve factual

disputes. Whether a particular statute has been properly enacted and is constitutionally

enforceable are purely legal issues that the parties can argue and the court can resolve

based solely on written motions. And in fact, this court considered—and denied (doc.

668)—a similar argument raised by one of Mr. Blackburn’s co-defendants when that

defendant filed a motion to dismiss (doc. 606). To the extent Mr. Blackburn seeks an

explanation from the government and a ruling from this court on the enforceability of

Title 21, he may file a motion setting forth his position.

       Mr. Blackburn has not satisfied the burden under Rule 17(b) that the witnesses

he wishes to subpoena are necessary.



       IT IS THEREFORE ORDERED BY THE COURT that defendant’s motion

for subpoenas (doc. 713) is denied.



       IT IS SO ORDERED this 4th day of March, 2011.

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                           s/ John W. Lungstrum
                           John W. Lungstrum
                           United States District Judge




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